roe TRF Bee ees re ALC Document 67 Filed 02/25/19 Page 1 of 2
Richman Hill & Associates PLLC

s 2027 Williamsbridge Road, Bronx, NY 10461
718.892.8588 | fax: 718.518.0674

Stacey Richman, Esq.
srichmanlaw@msn.com

Renée C. Hill, Esq.
rhillesq@msn.com

February 25, 2019

Andrew L. Carter, Jr.

United States District Court

Southern District of New York

40 Foley Square

New York, New York 10007
ALCarterNYSDChambers@nysd.uscourts.gov

Re: United States v. Elliot Halberstam
15 Cr. 825 (ALC)

Requesting the Assistance of the Court

Current Date: February 28, 2018, 12:00 p.m.
Your Honor:

I may need to request the assistance of the Court as I am to be before the
Honorable David S. Zuckerman, AJ.S.C. in County Court (Supreme Court) in
Rockland County in People v. Joseph Lewin, 237/18 for trial at 9:30 a.m on 2/28/19.

| had advised the County Court of our Halberstam dates (initially 2/26/19),
when the Rockland matter was originally calendared. The Lewin matter was put on
for 2/26/19 despite my affirmation advising of the Halberstam matter. The
Rockland Court then moved the trial date to 2/28/19 to accommodate the Assistant
District Attorney’s vacation. I explained we had already been moved to 2/28/19; |
have called to advise the Court, left messages and sent a fax. I have as yet received
no response. This letter follows my email to all in the Halberstam matter; and
discussion with Ms. Hunter-Hicks earlier this morning.

I had hoped I would hear back from the court already, obviating the need to
bother the court.

I do not want to offend any Court; logistically however I do not physically
know how I can be in Rockland and be back before this Court at noon.

I have a co-counsel in the Rockland matter but as it is set for trial ] too must
be present. I am hopeful to hear from the Rockland Court tomorrow and will advise
Ms. Hunter-Hicks immediately.

I may request this Court's direction and assistance. Perhaps if there is no
response a call could be made to Judge Zuckerman, his chambers number is 914-
Case 1:15-cr-00825-ALC Document 67 Filed 02/25/19 Page 2 of 2

824-5386 requesting even a one day adjournment so that I may accommodate all.
Another option would be a brief delay of the Halberstam sentencing, which I know is
not optimal and to which I am quite sure the Government is opposed. My goal is to

serve all properly. Again my apologies for any and all i venience.
cl (respectfully,

stat chman

Cc: Andrew.Beaty@usdoj.gov
Christopher_Paragano@nysp.uscourts.gov
